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                                               IN THE UNITED STATES DISTRICT COURT
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                                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                       SAN FRANCISCO DIVISION
            19
                     WPENGINE, INC., a Delaware corporation,          Case No. 3:24-cv-06917-AMO
            20
                                       Plaintiff,                     DEFENDANTS’ SUPPLEMENTAL
            21                                                        REQUEST FOR JUDICIAL NOTICE
                            v.
            22                                                        Hearing:
                     AUTOMATTIC INC., a Delaware corporation;         Date:    June 5, 2025
            23       and MATTHEW CHARLES MULLENWEG, an                Time:    2:00 p.m.
                     individual,                                      Place:   Courtroom 10
            24
                                       Defendants.                    Hon. Araceli Martínez-Olguín
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 Crutcher LLP
                                     DEFENDANTS’ SUPPLEMENTAL REQUEST FOR JUDICIAL NOTICE
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                 1                         SUPPLEMENTAL REQUEST FOR JUDICIAL NOTICE
                 2          Defendants respectfully request that the Court take judicial notice of the following exhibits in
                 3   support of Defendants’ concurrently filed Reply in Support of Motion to Dismiss and Strike Plaintiff’s
                 4   Amended Complaint, true and correct copies of which are attached to or referenced in this Request.
                 5          •   A copy of the “Plugin Developer Frequently Asked Questions” from Wordpress.org,
                 6              available at https://developer.wordpress.org/plugins/wordpress-org/plugin-developer-faq/,
                 7              as it appeared on September 24, 2024 (Exhibit 1);
                 8          •   A copy of the “Detailed Plugin Guidelines” from Wordpress.org, available at
                 9              https://developer.wordpress.org/plugins/wordpress-org/detailed-plugin-guidelines/, as it
            10                  appeared on September 24, 2024 (Exhibit 2);
            11              •   A copy of a certified audio-visual transcript of a Twitch livestream show, posted to
            12                  ThePrimeTime YouTube channel on September 26, 2024, entitled “Matt Talks About
            13                  WordPress Situation,” available at https://www.youtube.com/watch?v=H6F0PgMcKWM
            14                  (Exhibit 3). Defendants previously requested judicial notice of an audio-visual recording
            15                  of this Twitch livestream show (Dkt. 69-13), and submit this certified transcript of that
            16                  recording for ease of reference by the Court.
            17              •   A copy of a certified audio-visual transcript of Matt Mullenweg’s (“Mr. Mullenweg”)
            18                  keynote      address   at    the    WordCamp      US    Convention   2024,     available   at
            19                  https://www.youtube.com/live/fnI-QcVSwMU?t=5s and posted on September 21, 2024
            20                  (Exhibit 4). Defendants previously requested judicial notice of an audio-visual recording
            21                  of this keynote address (Dkt. 69-10), and submit this certified transcript of that recording
            22                  for ease of reference by the Court.
            23              •   A copy of a September 21, 2024 blog post to WordPress.org authored by Mr. Mullenweg
            24                  titled “WP Engine is not WordPress,” available at https://wordpress.org/news/2024/09/wp-
            25                  engine/ (Exhibit 5).
            26              •   A copy of a September 25, 2024 blog post to WordPress.org authored by Mr. Mullenweg
            27                  titled     “WP     Engine      is     banned     from    WordPress.org,”     available     at
            28                  https://wordpress.org/news/2024/09/wp-engine-banned/ (Exhibit 6).
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                 1                                                AUTHORITY
                 2      A. Legal Standard
                 3          Federal Rule of Evidence 201 allows the Court to take judicial notice of any fact (1) generally
                 4   known within the territorial jurisdiction of the trial court or any fact that (2) “can be accurately and
                 5   readily determined from sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid.
                 6   201(b)(2). Rule 201(c) provides that the Court “must take judicial notice” of such a fact “if a party
                 7   requests it and the court is supplied with the necessary information.” Fed. R. Evid. 201(c)(2).
                 8      B. The Court may take judicial notice of websites, transcripts, interviews, and other publicly
                 9          available material.
            10              Exhibits 1-6 consist of pages from a publicly available website, blog posts, and certified
            11       transcripts of an audio-visual recording of an interview given on YouTube and an audio-visual
            12       recording of a keynote address given at WordCamp US 2024. The Court may take judicial notice of
            13       such material as an indication of information available in the public realm. See Unsworth v. Musk, 2019
            14       WL 5550060, at *4 (N.D. Cal. Oct. 28, 2019) (citing Von Saher v. Norton Simon Museum of Art at
            15       Pasadena, 592 F.3d 954, 960 (9th Cir. 2010)); In re Google Assistant Priv. Litig., 457 F. Supp. 3d 797,
            16       813 (N.D. Cal. 2020) (taking judicial notice of Google “blog post for the fact that Google made the
            17       statements it contains”). Similarly, courts in this district take judicial notice of video and corresponding
            18       transcripts of speeches given to a live audience. Wynn v. Chanos, 75 F. Supp. 3d 1228, 1235 (N.D. Cal.
            19       2021) (taking judicial notice of a video and corresponding transcript of a symposium during which the
            20       defendant made allegedly defamatory remarks).
            21              WPEngine’s First Amended Complaint also relies on and references these exhibits: Exhibit 1,
            22       “Plugin Developer Frequently Asked Questions” on Wordpress.org (FAC ¶ 87 n. 51-54); Exhibit 2, the
            23       “Detailed Plugin Guidelines” located on Wordpress.org’s developer resources page (FAC ¶¶ 60 n.40,
            24       69 n.41, 233 n.116); Exhibit 3, a podcast interview titled “Matt Talks About WordPress Situation”
            25       (FAC ¶¶ 366-69); Exhibit 4, Mr. Mullenweg’s keynote presentation at WordCamp US 2024 (FAC
            26       ¶¶ 101-02, 121, 365, 369-70); Exhibit 5, Mr. Mullenweg’s September 21, 2024 blog post (FAC ¶¶ 107
            27       n.62, 329, 334–35, 344, 350–51); Exhibit 6, Mr. Mullenweg’s September 25, 2024 blog post
            28       (FAC¶¶ 109 n.63, 115 n.64, 330, 336, 345).
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                 1                                            CONCLUSION
                 2          For the foregoing reasons, Defendants respectfully request that this Court grant their
                 3   Supplemental Request for Judicial Notice of the above-referenced materials.
                 4

                 5   DATED: February 19, 2025                           Respectfully submitted,
                 6                                                      GIBSON, DUNN & CRUTCHER LLP
                 7
                                                                        By: /s/ Rosemarie T. Ring
                 8                                                             Rosemarie T. Ring
                 9                                                      Attorney for Defendants Automattic Inc. and
                                                                        Matthew Charles Mullenweg
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